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                                                                                     FILED
                              UNITED STATES DISTRICT COURT                         May 14, 2024
                               WESTERN DISTRICT OF TEXAS                      CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION
                                                                                            NM
                                                                           BY: ________________________________
                                                                                                   DEPUTY
MARK ANTHONY ORTEGA                )
                                   )
           Plaintiff(s)            )
                                   )
v.                                 )                  CIVIL NO. SA:24-CV-00440 -OLG
                                   )
DANIEL GILBERT FIELDS and ERIC DOE )
                                   )
           Defendant(s)            )

                                              ORDER

         In accordance with the authority vested in the United States Magistrate Judge pursuant to

Local Rule CV-72, and Appendix C, Local Rules for the Assignment of Duties to United States

Magistrate Judges, and pursuant to 28 U.S.C. § 636(b), the instant action is hereby REFERRED

to United States Magistrate Judge Henry J. Bemporad for disposition of all pretrial matters.

         I. MATTERS REFERRED

         This reference confers the following duties upon the magistrate judge to whom this case

is assigned, the parties and their counsel:

         (1) The magistrate judge may exercise discretion in entering a scheduling order and

extending or otherwise modifying deadlines in the scheduling order upon a showing of good

cause.

         (2) The magistrate judge shall rule on all pretrial motions, pursuant to 28 U.S.C.

§ 636(b)(1)(A). Where the magistrate judge's authority to make rulings is limited by statute, a

recommendation to this Court shall be made in lieu of an order, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and (C), unless all parties consent that the magistrate judge may rule on such

otherwise exempt matters, pursuant to 28 U.S.C. § 636(c)(1).
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       (3) Unless the parties have consented to proceed to trial before the magistrate judge in

accordance with the scheduling order, the magistrate judge will return the case to the undersigned

judge upon the ruling and/or filing of recommendations on all pretrial motions or, at the latest,

when all documents under Local Rule CV-16(f) are submitted.

       II. MATTERS NOT REFERRED

       This reference includes any pretrial matter not specifically mentioned above; however,

this reference does not include the following:

       Settlement Agreements. Should the parties reach a settlement of this case, they should

contact the courtroom deputy for the undersigned judge in writing or by telephone. Upon being

informed of a settlement, this Court will enter such orders as it finds proper to resolve the case.

       III. OBJECTIONS AND APPEALS

       Appeals from the magistrate judge's orders and objections to the magistrate judge's

recommendations shall be made in compliance with 28 U.S.C. § 636(b)(1), Rule 72 of the

Federal Rules of Civil Procedure, and Rule 4 of Appendix C to the Local Rules. Such objections

and appeals shall be limited to issues first raised before the magistrate judge; failure to bring any

defect in any order or recommendation to the attention of the magistrate judge prior to raising the

issue before this Court shall be deemed a waiver of such issue.

       It is so ORDERED this       14th      day of May, 2024.




                                                      ORLANDO L. GARCIA
                                                      UNITED STATES DISTRICT JUDGE
